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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


In re CASSAVA SCIENCES INC.            §
SECURITIES LITIGATION                  §    Master File No. 1:21-cv-00751-DAE
                                       §
                                       §            CLASS ACTION
This Document Relates to:              §
                                       §
              ALL ACTIONS              §
                                       §




      DEFENDANTS’ SURREPLY IN OPPOSITION TO PLAINTIFFS’ MOTION
     FOR CLASS CERTIFICATION; REQUEST FOR EVIDENTIARY HEARING
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                                         INTRODUCTION

       Plaintiffs’ Reply and the Rebuttal Report of Plaintiffs’ expert, Dr. Steven Feinstein, do

nothing to address the fatal flaws raised in Defendants’ Opposition and in the expert report of Dr.

Rene Stulz. See ECF 214 (Reply); ECF 209-5 (Feinstein Rebuttal Report). Rather than engage

with the meme-stock dynamics central to this case, Plaintiffs attempt to sidestep those issues,

continuing to assert this case is “like nearly all securities class actions.” Reply at 1, 35. 1 But this

is unlike any shareholder class action this Court or the Fifth Circuit has ever considered.

       Plaintiffs and Dr. Feinstein dismiss entirely the meme stock phenomenon’s impact on the

market for Cassava’s stock, despite a district court recognizing just days ago the phenomenon’s

implications for class certification. See Bratya SPRL v. Bed Bath & Beyond Corp., 2024 WL

4332616 (D.D.C. Sept. 27, 2024) (denying class certification, concluding market was inefficient

due to meme stock phenomenon’s impact on stock). Instead, Plaintiffs blithely rehash their rote

analysis of the Cammer/Krogman factors. See Reply at 3-6. But these factors are not a “checklist.”

Unger v. Amedisys Inc., 401 F.3d 316, 325 (5th Cir. 2005). “Nor are they a guarantee of market

efficiency.” Bratya, 2024 WL 4332616, at *11, 14. Rather, the ultimate question is whether it is

“reasonable to presume” that class members relied “on the integrity of the price set by the market”

for Cassava stock during the class period. Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568

U.S. 455, 462 (2013) (quoting Basic, Inc. v. Levinson, 485 U.S. 224, 245 (1988)). In this case,

it clearly is not. See Opp. at 1-16; Bratya, 2024 WL 4332616, at *12-19.

       Plaintiffs effectively ask the Court to ignore the realities of this case, including market

observers’ characterization of Cassava as a meme stock, the stock’s extreme volatility divorced

from value-relevant news, and Plaintiffs’ own erratic trading histories. Despite these obvious red


1
  Since the developments that Plaintiffs assert make their claims “stronger” and Defendants
“[d]esperate to find an off-ramp,” Reply at 1, Cassava’s stock price has risen by over 40%.

                                                   1
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flags, Plaintiffs reassert their argument that the Court should conclude the market was efficient

simply because Cassava actively traded on the Nasdaq. If the Court applies the “rigorous” analysis

required by law, however, such analysis quickly reveals that Plaintiffs’ arguments are fatally

flawed, the evidence Plaintiffs offer is meaningless, and Dr. Feinstein’s definition of “efficiency”

is without basis and entirely circular.

        Instead of confronting the holes in their arguments and evidence, Plaintiffs set up and rebut

strawman arguments Defendants do not make. Plaintiffs also repeatedly seek to avoid their burden

to demonstrate efficiency by shifting that burden to Defendants, pretending that Defendants must

affirmatively demonstrate inefficiency to defeat class certification. But that is not the law.

        Separately, Defendants have demonstrated a lack of price impact. See Goldman Sachs

Grp., Inc. v. Arkansas Tchr. Ret. Sys., 594 U.S. 113, 126-27 (2021). Plaintiffs do not dispute that

the bulk of their alleged “corrective disclosures” are not associated with any statistically significant

impact on Cassava’s price whatsoever. Reply at 19-23. Thus, even if the market were efficient, the

Basic presumption would be rebutted.

        Plaintiffs also still fail to show how damages can be calculated on a classwide basis,

offering nothing but the bare, insufficient assertions from Dr. Feinstein’s original report. Id. at

27-30; see Comcast Corp. v. Behrend, 569 U.S. 27, 34-35 (2013). The market forces impacting

Cassava’s stock raise obvious difficulties in reliably calculating classwide damages, which

Plaintiffs and Dr. Feinstein have done nothing to address. Plaintiffs’ Motion should be denied.

                                            ARGUMENT

I.      Plaintiffs Fail to Establish Market Efficiency Under Basic

        When “considering the certification of securities class actions dependent on the ‘fraud on

the market’ theory” articulated in Basic, “a careful certification inquiry is required and findings

must be made based on adequate admissible evidence to justify class certification.” Bell v.


                                                   2
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Ascendant Sols., Inc., 422 F.3d 307, 312 (5th Cir. 2005) (quoting Unger, 401 F.3d at 319). Courts

must “consider the nature of the market on a case-by-case basis to decide whether the totality of

the circumstances supports a finding of market efficiency.” Bratya, 2024 WL 4332616, at *11

(citation omitted). “Because this inquiry can prove decisive for class certification,” courts must

apply a “rigorous” standard when evaluating proffered proof of efficiency. Unger, 401 F.3d at 322.

       Plaintiffs’ Reply seeks to escape that obligation and assert the burden somehow was on

Defendants’ expert to affirmatively prove market inefficiency. Reply at 3-4, 13. This is false.

“Plaintiffs bear the burden of proving market efficiency—defendants do not.” IBEW, 2013 WL

5815472, at *21 (noting that “questions asked of defendants’ experts…as to whether they

conducted their own analysis of market efficiency [were thus] beside the point”); see, e.g., Bell,

422 F.3d at 314-16. If Plaintiffs’ “proffered proof of market efficiency falls short of the mark,”

market efficiency is not proven, and the Basic presumption cannot apply. IBEW, 2013 WL

5815472, at *21; see Bell, 422 F.3d at 312; Unger, 401 F.3d at 319-22.

       Plaintiffs fail to carry their burden here. Among other failures, Plaintiffs’ purported

evidence of efficiency continues to ignore the meme-stock dynamics that plagued Cassava’s stock

throughout the class period, cannot account for the wild swings in Cassava’s price divorced from

any news, and relies upon a circular and flawed definition of “efficiency.” Plaintiffs thus fail to

demonstrate market efficiency under Basic, and their Motion must be denied.

       A.      Plaintiffs Still Fail to Account for Cassava Being Impacted by the Meme
               Stock Phenomenon

       The Basic presumption “springs from the very concept of market efficiency.” Amgen, 568

at 462 (citing Basic, 485 U.S. at 245-47). Basic’s underlying premise is that “[i[f a market is

generally efficient in incorporating publicly available information into a security’s market price,”

then “it is reasonable to presume that most investors…will rely on the security’s market price as



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an unbiased assessment of the security’s value in light of all public information.” Id. “Thus, courts

may presume that investors trading in efficient markets indirectly rely on public, material

misrepresentations through their ‘reliance on the integrity of the price set by the market.’” Id.

(quoting Basic, 485 U.S. at 245); see Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258,

273 (2014) (“Halliburton II”) (same).

       Given the unique dynamics of this case, there is no reason to presume that investors relied

“on the integrity of the price set by the market” for Cassava stock. Basic, 485 U.S. at 245;

see Bratya, 2024 WL 4332616, at *12-14. Rather than reflect new information, Cassava’s stock

price swung wildly throughout the class period based on retail trading activity that characterized

the meme stock phenomenon. See Opp. at 11-16; Stulz Rpt. ¶¶ 41-94.

       Plaintiffs do not genuinely dispute that Cassava’s stock demonstrated extreme volatility

during the class period, untethered to material information in the market. Nor do they credibly

dispute that market observers attributed these swings to retail meme-stock traders, rather than

forces commonly at work in efficient markets. Instead of grappling with these realities, however,

Plaintiffs obfuscate the issues and criticize strawman arguments Defendants did not make.

       First, contrary to Plaintiffs’ assertions, Defendants do not argue “that markets are not

efficient” generally, that “public information is often not incorporated ‘rationally’ into stock

prices” across markets, or that Basic’s underlying premise is incorrect. Reply at 7-8. 2 Nor do

Defendants argue that the market for Cassava’s stock was inefficient because the stock was

“incorrectly priced” or “incorrectly valued.” Id. Defendants’ argument is more modest, meeting

the reality relevant to Plaintiffs’ proposed class: Given the unique dynamics surrounding Cassava’s



2
  If, as Plaintiffs assert, Basic somehow requires that the market for every stock actively traded on
the Nasdaq be deemed efficient (it does not), this case would present a perfect example of a need
for a change in the law.

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stock, Plaintiffs’ robotic march through the Cammer/Krogman factors fails to demonstrate

efficiency throughout the years-long class period Plaintiffs propose.

        Second, Defendants do not argue that “meme stock” status automatically renders a market

inefficient. Reply at 7, 11; Feinstein Rebuttal ¶ 12; see Shupe v. Rocket Companies, Inc. 2024 WL

4349172, at *22 (E.D. Mich. Sept. 30, 2024) (rejecting that argument). Rather, Defendants have

identified numerous actual consequences of the meme stock phenomenon on Cassava’s stock

during the class period, consequences which undermined “the integrity of the price set by the

market.” Basic, 485 U.S. at 245; see also Bratya, 2024 WL 4332616, at *9-10. Despite Plaintiffs’

pleas to the contrary, “the Court cannot simply ignore these dynamics…in determining whether

[the] market was efficient.” Bratya, 2024 WL 4332616, at *14.

        Third, Plaintiffs try to dismiss the relevance of the meme stock phenomenon because

academics have yet to arrive at a single, consensus definition of “meme stock.” Reply at 11, 13.

But Defendants’ argument does not depend on Cassava satisfying any particular, technical

definition of “meme stock.” As Dr. Stulz explains, the meme stock phenomenon is relatively new,

and the academic literature surrounding the phenomenon is developing. Stulz Rpt. ¶¶ 55-68.

Numerous academics and market observers, however, have recognized that the meme stock

phenomenon raises serious implications for market efficiency, concluding that affected stocks

often behave in a manner inconsistent with efficiency. Id. ¶¶ 55-59. Dr. Stulz examined whether

Cassava’s stock demonstrated such behavior during the class period. Id. ¶¶ 60-69. He concluded

it did. Id. ¶¶ 65-69.

        Fourth, Plaintiffs attempt to sidestep Cassava stock’s obvious departures from efficiency

by noting that some courts have allowed “non-directional event studies.” Reply at 10-11. But as

Plaintiffs’ own case recognizes, “certain news can be reasonably expected to drive the price only

in one direction.” Petrie v. Elec. Game Card, Inc., 308 F.R.D. 336, 355 (C.D. Cal. 2015). “Thus,

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while lack of evidence about the direction of the price impact is not necessarily fatal to an event

study, it can be relevant to how much weight the study is given.” Id.

       Fifth, Plaintiffs try to dismiss the impact of the extreme costs of shorting Cassava stock

during the class period, noting that short-selling was never “banned.” Reply at 14-15. Plaintiffs

cannot dispute, however, that the costs of short-selling were indeed extreme, impacting

arbitrageurs’ ability to correct market inefficiencies. See Opp. at 18-19; Stulz Rpt. ¶¶ 96-108;

Bratya, 2024 WL 4332616, at *16 (concluding high costs to short-sell weighed against efficiency).

       Sixth, Plaintiffs suggest that Cassava’s stock movements were “rational” because the price

“traded between $6.79 and $135 per share during the class period, essentially within analysts’ price

targets, which ranged from $8 to $215 per share.” Reply at 12-13. This makes no sense. Indeed,

Plaintiffs and Dr. Feinstein seem to suggest that any movement in Cassava’s price should be

considered “rational,” regardless of its relation to new information, so long as the price remained

between $8 and $215. 3

       Despite Plaintiffs’ attempts to wave them away, the meme-stock dynamics impacting

Cassava’s stock are obvious. Reliance cannot be presumed based on the evidence offered here.

       B.      Plaintiffs Cannot Explain How Cassava’s Wild Price Swings in the Absence
               of News Could Be Consistent with an “Efficient” Market

       During the class period, Cassava’s stock price frequently experienced massive swings in

the absence of any new information about the company. See Opp. at 11-16. Plaintiffs cannot

explain how such swings can be reconciled with the workings of an efficient market.




3
  Plaintiffs also try to dismiss the relevance of “rationality” altogether. Reply at 8, 12. But as the
cases Plaintiffs cite recognize, “the presence of irrational investors” is relevant to the efficiency
inquiry. In re Xcelera.com Sec. Litig., 430 F.3d 503, 517 (1st Cir. 2005); see also Levine v.
SkyMall, Inc., 2001 WL 37118873, at *8 (D. Ariz. May 24, 2001).

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       Consistent with the meme stock phenomenon, many swings in Cassava’s price were

associated with high levels of social media activity, divorced from any news about the company.

For example, Dr. Stulz’s report identified 34 days during the class period that (1) Dr. Feinstein

characterized as “non- or lesser-news days” in his first report, but (2) on which Cassava received

extremely high levels of social media attention. Stulz Rpt. ¶¶ 71-74. The rate at which Cassava’s

stock experienced statistically significant price swings on these days is “indistinguishable” from

the “news” dates Dr. Feinstein relied upon in his event study. Id. ¶ 75. Indeed, on at least seven of

these days, Cassava’s price experienced huge swings in the absence of any new information

whatsoever. Id. ¶¶ 82-94.

       In a strained effort to explain away this evidence indicating inefficiency, Dr. Feinstein’s

rebuttal report attempts to identify “economically material information” released on these dates,

despite his earlier description of the dates as “non- or lesser-news days.” Feinstein Rebuttal ¶¶ 19,

138-75. Dr. Feinstein’s post hoc attempt to explain these wild price swings fails.

       •   February 3, 2021 (45.89% increase): Dr. Feinstein attributes this massive price
           increase to the market’s supposed need for multiple days to process the news
           announced by Cassava on February 2, 2021, which he claims required “examination of
           complex biomedical test results.” Feinstein Rebuttal ¶ 149. Dr. Feinstein provides no
           basis to conclude the February 2 news was more “complex” than Cassava’s
           announcements of any other results. In any event, and more importantly, massive price
           swings that occur for days in the absence of new information are fundamentally
           inconsistent with market efficiency, which requires the “prompt” incorporation of
           news. E.g., Unger, 401 F.3d at 324 (“In an efficient market, …material misstatements
           alter a stock’s price almost immediately.”); In re PolyMedica Corp. Sec. Litig., 432
           F.3d 1, 12 (1st Cir. 2005) (“[A]n ‘efficient’ market [is] a market in which prices
           incorporate rapidly or promptly all publicly available information.” (citation omitted));
           In re Fed. Home Loan Mortg. Corp. (Freddie Mac) Sec. Litig., 281 F.R.D. 174, 182
           (S.D.N.Y. Mar. 27, 2012) (“Without evidence of the prompt effect of unexpected news
           on market price, the market cannot be called efficient.”); see also Greenberg v.
           Crossroads Sys., Inc., 364 F.3d 657, 662 n. 6 (5th Cir. 2004). 4



4
  In his original report, Dr. Feinstein examined only one-day returns for all “news days” he
identified, including February 2, 2021. See Feinstein Rpt., Exs. 16-18.

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       •   February 4, 2021 (34.00% decrease): Dr. Feinstein identifies no new information to
           explain the dramatic price reversal on this date, again claiming, with no further
           explanation, this was somehow part of the market still “processing” the news released
           on February 2. Feinstein Rebuttal ¶¶ 149-50.

       •   February 5, 2021 (35.22% decrease): In addition to claiming this was part of the
           market “processing” the February 2 news, Dr. Feinstein attributes this 35% decline to
           a single analyst from Citi Bank expressing “caution” about Cassava’s clinical results.
           Feinstein Rebuttal ¶ 150. But similar cautionary views were expressed on February 2,
           during the dramatic price increase. Dr. Feinstein fails to acknowledge this fact. In an
           efficient market, a single analyst’s reiteration of known information should not impact
           prices at all, let alone cause a dramatic price decline. See, e.g., Greenberg, 364 F.3d at
           663, 665-66; Grigsby v. BofI Holding, Inc., 979 F.3d 1198, 1205 (9th Cir. 2020);
           cf. Erica P. John Fund, Inc. v. Halliburton Co., 309 F.R.D. 251, 272 (N.D. Tex. 2015)
           (finding no price impact where information in alleged corrective disclosure was already
           known to the market).

       •   June 11, 2021 (15.30% increase): Dr. Feinstein fails to identify any purported news
           on this date, instead attributing this 15% swing to “random chance.” Feinstein Rebuttal
           ¶ 152. 5

       •   July 21, 2021 (24.51% increase): Dr. Feinstein attempts to attribute this price swing
           to the disclosure of the title of a presentation Cassava would be making at an upcoming
           AAIC conference. Feinstein Rebuttal ¶¶ 156-57. As Dr. Feinstein admits, however, the
           scheduling of the presentation was disclosed on June 21, 2021. Id. ¶ 155. Nevertheless,
           Dr. Feinstein contends the presentation’s title revealed “blockbuster news” about
           simufilam, justifying the nearly 25% increase in Cassava’s price. Id. ¶¶ 156-57. This
           assertion cannot withstand the slightest scrutiny. Indeed, Dr. Feinstein cannot cite a
           single public source discussing the supposed importance of the presentation’s title. 6 In
           fact, only one analyst released a report about the AAIC conference after July 21 (on
           July 22, 2021), which neither discussed the title nor changed the evaluation contained
           in the same analyst’s last report issued two weeks prior.

       •   November 2, 2021 (21.60% increase): Dr. Feinstein again fails to identify any
           purported news on this date, attributing this nearly 22% swing to “random chance.”
           Feinstein Rebuttal ¶¶ 165-66.



5
  Despite attributing this swing to “random chance,” Dr. Feinstein references an announcement by
Biogen concerning its drug, Aduhelm, from June 7, 2021. Feinstein Rebuttal ¶ 153. But Dr.
Feinstein makes no attempt to explain why Cassava’s stock would jump over 15% on June 11 in
response to Biogen’s June 7 announcement. This is unsurprising, as there was no statistically
significant movement in Cassava’s stock on June 8, 9, or 10, under any of Dr. Feinstein’s three
event study models. Feinstein Rpt., Exs. 16-18.
6
 Dr. Feinstein’s search from his original report identified only four articles on July 21, 2021, none
of which mention the supposed import of the presentation’s title.

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       •    September 22, 2022 (31.87% increase): Dr. Feinstein attempts to attribute this price
            swing to a single article posted on the forum Seeking Alpha, which he asserts
            (i) revealed that the SEC had “closed its case” against Cassava and (ii) “issued a ‘Strong
            Buy’ recommendation.” Feinstein Rebuttal ¶ 171. In reality, however, the article
            merely (i) reposted a screenshot of the SEC’s response to a FOIA request that had been
            posted days before, and (ii) “maintained” the same recommendation the author had in
            place since November 18, 2021. This lone article contained no new information, let
            alone information capable of justifying a nearly 32% jump in price. 7

       Plaintiffs cannot escape the fact that Cassava’s “price movements were random and

volatile,” and the stock often fluctuated wildly “in the absence of news.” Krogman v. Sterritt, 202

F.R.D. 467, 477 (N.D. Tex. 2001); see also Stulz Rpt. ¶ 34; Bratya, 2024 WL 4332616, at *12-19.

This undermines any finding of efficiency. See, e.g., Krogman, 202 F.R.D. at 477; ScripsAmerica,

Inc. v. Ironridge Glob. LLC, 119 F. Supp. 3d 1213, 1257 (C.D. Cal. 2015); George v. China Auto.

Sys., Inc., 2013 WL 3357170, at *12 (S.D.N.Y. July 3, 2013); Serfaty v. Int'l Automated Sys., Inc.,

180 F.R.D. 418, 423 (D. Utah 1998); O’Neil v. Appel, 165 F.R.D. 479, 503 (W.D. Mich. 1996). 8

       C.      Plaintiffs’ Expert’s Asserted Definition of Market Efficiency Is Fatally
               Flawed and Circular

       In their efforts to sidestep obvious indicators of inefficiency, Plaintiffs and Dr. Feinstein

further err by advancing a flawed, circular definition of “efficiency.”




7
 Dr. Feinstein’s other attempts to explain massive swings in Cassava’s price fare no better. For
example, Dr. Feinstein attempts to attribute a 34.67% increase in Cassava’s price on September
18, 2020, to Cassava filing a Form 4 with the SEC, indicating a Cassava executive had purchased
some stock. Feinstein Rebuttal ¶ 142. But Dr. Feinstein cannot explain why this Form 4, as
opposed to the many other Form 4s filed throughout the class period, would result in such a massive
price increase in an efficient market. Indeed, the bulk of Cassava’s Form 4 filings during the class
period were not followed by any statistically significant price movement whatsoever. See Feinstein
Rpt., Exs. 16-18.
8
  Plaintiffs’ strained attempt to distinguish these cases fails. Reply at 10. Applying Basic, these
courts recognized and applied the bedrock premise that when a stock’s price is not correlated with
the release of value-relevant information, the impact of disclosures or omissions cannot be
presumed. Krogman, 202 F.R.D. at 477; ScripsAmerica, 119 F. Supp. 3d at 1257; George, 2013
WL 3357170, at *12; Serfaty, 180 F.R.D. at 423; O’Neil v. Appel, 165 F.R.D. at 503.

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       “When discussing ‘market efficiency’ in the context of the Basic presumption, courts agree

that semi-strong-form efficiency is the relevant form.” In re Teva Sec. Litig., 2021 WL 872156, at

*7 (D. Conn. Mar. 9, 2021) (collecting cases); see also, e.g., Freddie Mac, 281 F.R.D. at 177

(same); In re Enron Corp. Sec., 529 F. Supp. 2d 644, 745 (S.D. Tex. 2006) (same); In re Res. Am.

Sec. Litig., 202 F.R.D. 177, 189 n.12 (E.D. Pa. 2001) (same). The concept of “semi-strong-form

efficiency” is well-established in financial economics, and it is the definition Dr. Stulz relied upon

in his report. See Stulz Rpt. ¶¶ 31-35. In a semi-strong efficient market, the stock price quickly

incorporates all new, value-relevant public information. Stulz Rpt. ¶ 31; see, e.g., Basic, 485 U.S.

at 246 (reasoning that the “market price” of shares traded in an “efficient” market “reflects all

publicly available information, and, hence, any material misrepresentations”); Bell, 422 F.3d at

313-14 (explaining that “the hallmark of an efficient capital market” is the extent to which “the

current price reflects all available information” (citation omitted)); Greenberg, 364 F.3d at 662 n.6

(“[W]here securities are traded in an efficient market, it is assumed that all public information

concerning a company is known to the market and reflected in the market price of the company’s

stock.”). Accordingly, a pattern of significant price changes disconnected from any new public

information is inconsistent with market efficiency. Stulz Rpt. ¶¶ 34-35; see Krogman, 202 F.R.D.

at 477 (“[I]n an efficient market, a stock’s price remains relatively stable in the absence of news.”).

       Rather than evaluate whether the market for Cassava’s stock satisfied this well-established

standard, Dr. Feinstein advances his own flawed, unsupported interpretation of “informational

efficiency.” According to Dr. Feinstein, “[i]nformational efficiency…requires that the stock

respond to and impound new information the market deems to be relevant.” Feinstein Rebuttal

¶ 112 (emphasis added); see also id. ¶ 16 (“[I]f a market reacts to new information rather than

ignores that information, that market is informationally efficient.”); id. ¶¶ 181-85 (“efficient stocks

may respond to factors other than fundamental cash flow information”). Thus, if the stock fails to

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react to value-relevant information, Dr. Feinstein can simply assert the information was “deemed

irrelevant” by the market. Conversely, if the stock reacts to stale information or information wholly

unrelated to value, Dr. Feinstein can assert the information was “deemed relevant” by the market.

       Indeed, Dr. Feinstein asserts that any price movement following the publication of

information shows efficiency—regardless of whether the information was value-relevant,

regardless of the direction or magnitude of the price change, and regardless of how long the price

continues to swing following the publication. E.g., Feinstein Rebuttal ¶¶ 16, 72, 112. Such a

strained, unreliable concept of “efficiency” has zero basis in financial economics. Stulz Rpt.

¶¶ 31-35. It also has zero value in demonstrating efficiency under Basic. Under Dr. Feinstein’s

flawed approach, the market is always “right,” no price movement can ever be scrutinized, every

market is efficient, and Basic’s presumption will always apply. That is not the law. See, e.g.,

Amgen, 568 U.S. at 462; Basic, 485 U.S. at 245; Bell, 422 F.3d at 313-14.

       Because Plaintiffs fail to meet their burden to prove that the market for Cassava’s stock or

the markets for Cassava’s options were efficient, Basic’s limits must be respected. The Basic

presumption cannot apply here. 9

II.    Even If the Relevant Market Was Efficient, Defendants Have Demonstrated Lack of
       Price Impact

       When considering whether defendants have demonstrated lack of price impact, “[t]he

district court’s task is simply to assess all the evidence of price impact—direct and indirect—and

determine whether it is more likely than not that the alleged misrepresentations had a price impact.”

Goldman, 594 U.S. at 126-27 (emphasis added). Yet, Plaintiffs now encourage the Court to ignore,


9
  Plaintiffs and Dr. Feinstein continue to tie the efficiency of the markets for Cassava options to
the efficiency of the market for Cassava stock. Reply at 16-17; Feinstein Rebuttal ¶¶ 209-61. They
also continue to lump all Cassava options into a single “market,” thus ignoring the radical
differences between the different options. Reply at 16-17; Feinstein Rebuttal ¶¶ 209-61. Their
options arguments thus fail for all the reasons already discussed. See Opp. at 19-20.

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rather than assess, Defendants’ proffered evidence and instead credit their evidence alone as

dispositive proof of price impact. To that end, Plaintiffs advocate for a significantly higher burden

for Defendants than the preponderance-of-the-evidence standard the governing Supreme Court

precedent prescribes. The Court should not be fooled: When the market learned about the supposed

fraud alleged by Plaintiffs, it did not react. And to the extent Plaintiffs point to market downturns

in response to alleged corrective disclosures, those disclosures were not corrective, or the

downturns are more likely explained by other market factors. Thus, even assuming the market for

Cassava’s stock was efficient during the proposed class period, Basic’s presumption cannot apply.

       A.      Plaintiffs’ Assertions About “Front-End” Impact Fail

       Plaintiffs identify three dates on which there were statistically significant increases in

Cassava’s stock price and argue that “Defendants’ price-impact arguments flop because they fail

to rule out both front-end and back-end price impact.” Reply at 20. Plaintiffs therefore argue that

“evidence of front-end price impact,” has rendered “each of Defendants' back-end price impact

arguments irrelevant.” In re Apache Corp. Sec. Litig., 2024 WL 532315, at *7 (S.D. Tex. Feb. 9,

2024). But that is “an extraordinary argument” that “would render Goldman essentially

meaningless.” Id. Indeed, it makes little sense that a stock’s price would increase on the front end

due to a misrepresentation, but then fail to decrease on the back end once the misrepresentation

was corrected. That is: the lack of a back-end price drop provides “less reason to infer front-end

price inflation.” Goldman, 594 U.S. at 123.

       B.      Defendants Have Not “Conceded” That Alleged Corrective Disclosures
               Impacted Cassava’s Stock Price on the “Back-End”

       Plaintiffs argue that their evidence of price impact is, without consideration of anything

else, dispositive. They argue that because Defendants did not “attempt to prove a lack of price

impact on two corrective disclosure dates” Defendants have “conceded the issue, and the Court



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need go no further.” Reply at 20. They also argue that because four of the alleged corrective

disclosures were followed by a statistically significant stock drop, Defendants cannot rebut Basic’s

presumption because they have not demonstrated a “complete lack of price impact.” See id. at 21

(citation omitted). Thus, according to Plaintiffs, if any alleged corrective disclosure is followed by

a statistically significant stock drop, Defendants fail to rebut Basic’s presumption.

       But “that is not the law.” Apache, 2024 WL 532315 at *6. The Court “must consider

Defendants’ analysis to comply with Goldman Sach’s directive that the Court be ‘open to all

probative evidence’ when assessing price impact.” Ramirez v. Exxon Mobil Corp., 2023 WL

5415315, at *13 (N.D. Tex. Aug. 21, 2023) (quoting Goldman, 594 U.S. at 122). Indeed,

“[c]onsistent with Goldman Sachs, the Court considers all evidence of price impact for each of

the…alleged Corrective Disclosures.’” Id. at *15. Thus, Defendants need not contest every

corrective disclosure for the Court to conclude that price impact is lacking. Nor do Defendants

have “to prove that their alleged misstatements had no price impact whatsoever during the entire

Class Period.” Apache, 2024 WL 532315 at *6 (emphasis in original). That would be antithetical

to the analysis of the cumulative evidence the Court is required to undertake.

       C.      Defendants Have Established an Absence of Price Impact for the Remaining
               Corrective Disclosures

       As Defendants explained in their Opposition, eleven of the seventeen corrective disclosures

Plaintiffs identify—which relate to the exact research Plaintiffs allege Defendants

misrepresented—are not associated with any statistically significant decline in the price of

Cassava’s stock. Opp. at 22-24. Plaintiffs do not contest this, but instead argue that such evidence

cannot disprove price impact. See Reply at 21-22. They quote their expert in support, who claims

that “while a statistically significant positive price reaction in response to misrepresentations may

demonstrate price impact, a nonsignificant reaction…does not prove there was no price impact.’”



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Id. (quoting Feinstein Reply ¶¶321-323). But “a fact can be relevant without being dispositive.”

Apache, 2024 WL 532315, at *11. Accordingly, the fact that none of the eleven alleged collective

disclosures “showed statistically significant price declines—even if not dispositive of price

impact—is nevertheless a relevant fact to consider alongside Defendants’ other evidence

concerning price impact.” Id.; see also Bratya, 2024 WL 4332616, at *20 (noting the lack of a

statistically significant price reaction meant there was “no evidence” that misrepresentation

impacted stock price); In re Kirkland Lake Gold Ltd. Sec. Litig., 2024 WL 1342800, at *10

(S.D.N.Y. Mar. 29, 2024) (criticizing Dr. Feinstein’s position on statistical significance).

       Plaintiffs claim that Defendants have no other evidence. They contend that Defendants’

“contention is solely that the price drops were not statistically significant.” Reply at 21-22

(emphasis in original). But that’s not true. For instance, Defendants have explained that Cassava’s

stock price frequently underwent massive swings in the absence of any new, value-relevant

information about the company; was just as likely to change significantly due to increased social

media discussion as it was in response to any actual new information; and often reacted in bizarre

ways that sophisticated market analysts did not anticipate. See Opp. at 11-16; Stulz Rpt. ¶¶ 51-94.

Indeed, in July 2020 Cassava’s share price fell more 50% on news that analysts universally

considered positive, and following the public release of the Citizen Petition, neither JonesTrading,

H.C. Wainwright, or Maxim Group changed their price targets for Cassava, notwithstanding the

price decline. See Opp. at 31. It is likely that meme-stock infused market volatility, rather than

value-relevant or “corrective” news, was responsible for both drops.

       This evidence, bolstered by the lack of statistically significant declines in Cassava’s stock

price following most of Plaintiffs’ alleged corrective disclosures, strongly suggest that the

misrepresentations Plaintiffs allege did not impact the price of the stock. And the declines that did

follow alleged corrective disclosures are more likely associated with Cassava’s consistent and

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extreme market volatility than with some random reaction to largely duplicative “corrective” news

by the market. E.g., Rocket, 2024 WL 4349172, at *24 (concluding that “broader context” supplied

evidence to find a lack of price impact).

       D.      There Is a “Mismatch” Between the Alleged Misrepresentations and the
               Corrective Disclosures

       Plaintiffs ask the Court to disregard Defendants’ arguments that there are mismatches

between the misrepresentations and corrective disclosures Plaintiffs alleged, see Opp. at 24-26,

because Goldman did not overrule the “long-standing precedent” that “loss causation, falsity, and

other common merits issues are still inappropriate at the class-certification stage.” Reply at 25.

But Defendants are not opposing the certification of the proposed class because of merits issues.

Defendants instead are relying on evidence to demonstrate a lack of price impact, evidence that

may also apply to those issues. Specifically, Defendants argue that certain alleged corrective

disclosures were not corrective at all because the statements they purport to correct were evidently

true. And so, it follows that any decline in Cassava’s stock price following those disclosures is not

probative of the price impact of any misrepresentation. Evidence relevant to class certification,

including evidence demonstrating a lack of price impact, cannot be ignored merely because it is

also relevant to other, merits-related issues. See Goldman, 594 U.S. at 122.

       Plaintiffs contend that “Defendants do not argue a ‘mismatch,’ but instead deny that the

statements were misleading in the first place” and that “arguments that certain disclosures are not

corrective” is not “relevant to rebutting Basic.” Reply at 24, 25. Not so. These are perfectly

appropriate arguments at this stage. See, e.g., Apache, 2024 WL 532315, at *10, *13 (rejecting

Plaintiffs’ argument that how an alleged disclosure “corrected any alleged misstatements” is an

“improper loss causation argument.”). Defendants are asking the Court to conclude there was a

lack of price impact, in part, because Plaintiffs’ evidence of price impact is unreliable, not because



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of the falsity (or lack thereof) of the misrepresentations Plaintiffs allege. This is a crucial

distinction Plaintiffs ignore. As the Supreme Court has “repeatedly explained,” “a court has an

obligation before certifying a class to determine that Rule 23 is satisfied, even when that requires

inquiry into the merits.” Goldman, 594 U.S. at 122.

       In sum, if the Court weighs all the evidence, as it must, it should conclude the alleged

misrepresentations more than likely did not impact Cassava’s stock price. Defendants therefore

have carried their burden to rebut Basic’s presumption.

III.   Plaintiffs Are Not Entitled to a Presumption of Reliance Under Affiliated Ute

       “The Ute presumption…operates only in omissions cases, not where plaintiffs assert

positive misrepresentations of material information.” Akin v. Q-L Invs., Inc., 959 F.2d 521, 529

(5th Cir. 1992). The “presumption should not be applied to cases that allege both misstatements

and omissions unless the case can be characterized as one that primarily alleges omissions.” Binder

v. Gillespie, 184 F.3d 1059, 1064 (9th Cir. 1999) (citing Finkel v. Docutel/Olivetti Corp., 817 F.2d

356, 359 (5th Cir. 1987)). Thus, even in cases alleging a “scheme” or deceptive practices, the Ute

presumption can apply only if “the plaintiffs have based their complaint primarily upon alleged

omissions.” Abell v. Potomac Ins. Co., 858 F.2d 1104, 1119 (5th Cir. 1988) (concluding Ute

presumption did not apply in case alleging fraudulent scheme), cert. granted, judgment vacated on

other grounds sub nom. Fryar v. Abell, 492 U.S. 914 (1989); see also Desai v. Deutsche Bank Sec.

Ltd., 573 F.3d 931, 941 (9th Cir. 2009) (citation omitted) (concluding Ute presumption did not

apply to claims under Rule 10b-5(a) and 10b-5(c)); Regents of Univ. of California v. Credit Suisse

First Bos. (USA), Inc., 482 F.3d 372, 384 (5th Cir. 2007) (same, noting the Ute presumption applies

only where plaintiffs “allege a case primarily based on omissions or non-disclosure”).

       Plaintiffs suggest that because they cite Rules 10b-5(a) and (c) in their Complaint, this case

somehow is one based “primarily upon alleged omissions.” Abell, 858 F.2d at 1119; see Reply at


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18-19. It is not. Plaintiffs’ entire theory of fraud is based on alleged misleading statements about

the pre-clinical and clinical research underlying simufilam. See, e.g., Compl. ¶¶ 268-315; see also

Reply at 18 (“Defendants implemented their scheme by first publishing ‘scientific data in peer-

reviewed journals’ to support the development of simufilam.”); id. (“Defendants continued to

advance their scheme by…providing doctored data to journals in order to obtain false

exonerations.”). Having based their claims on Defendants’ alleged misstatements, Plaintiffs cannot

now invoke the Ute presumption merely by alleging those statements were part of a broader

“scheme.” See Credit Suisse, 482 F.3d at 384; Abell, 858 F.2d at 1119; Akin, 969 F.2d at 529. 10

The Ute presumption does not apply.

IV.    Plaintiffs Fail to Provide a Classwide Damages Methodology Consistent with Their
       Theory of Liability

       Plaintiffs’ and Dr. Feinstein’s promise to calculate “out-of-pocket” damages “is vague,

indefinite, and unspecific, [and] simply asserts” that “there are unspecified ‘tools’ available to

measure damages” without providing any details whatsoever for how those “tools” will be used to

measure damages in this case. Ohio Pub. Emps. Ret. Sys. v. Fed. Home Loan Mortg. Corp., 2018

WL 3861840, at *19 (N.D. Ohio Aug. 14, 2018) (granting motion to exclude Dr. Feinstein’s

testimony). In fact, the only thing in Dr. Feinstein’s proposed damages model that is specific to

this case is a conclusory statement that his methodology is “consistent in this case with these

Plaintiffs’ theory of liability.” Ex. 2 at 237:7 14; 238:16-20. That plainly cannot satisfy Plaintiffs’

burden under Comcast to assure the Court that there is an available damages model that reliably



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   “Any fraudulent scheme requires some degree of concealment, both of the truth and of the
scheme itself.” Desai, 573 F.3d at 941 (citation omitted). The “mere fact of this concealment,”
however, cannot “transform the alleged malfeasance into an omission rather than an affirmative
act.” Id. Otherwise, “the Affiliated Ute presumption [would] swallow the reliance requirement
almost completely.” Id.; see also, e.g., Johnston v. HBO Film Mgmt., Inc., 265 F.3d 178, 193 (3d
Cir. 2001) (same).

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can measure “only those damages attributable to [Plaintiffs’] theory” of liability. Comcast Corp.

v. Behrend, 569 U.S. 27, 35 (2013); see also Opp. at 28-34.

       In their Reply, Plaintiffs assert that “Defendants do not dispute that Dr. Feinstein’s out-of-

pocket methodology is consistent with Plaintiffs’ theory of liability” and thus “concede Plaintiffs

satisfy Comcast here.” Reply at 28. It is Plaintiffs’ burden to demonstrate that they have proposed

a workable damaged methodology in this case. The Court should reject Plaintiffs’ repeated

attempts to shift their burden to Defendants.

       In any event, Defendants most certainly do dispute that Dr. Feinstein’s proposed

“methodology” is consistent with Plaintiffs’ theory of liability. Plaintiffs’ theory is that Defendants

misrepresented highly technical details in certain disclosures of pre-clinical and clinical research

during the early stages of a drug candidate’s development. In their Opposition, Defendants explain

at length that measuring “only those damages attributable to that theory” of liability is potentially

impossible given the wild swings and market forces bearing on Cassava’s stock during the

proposed class period. See Opp. at 28-34. Given Cassava’s massive volatility, including during the

period in which Cassava was labeled a meme stock, Dr. Feinstein has not established that residual

price declines on alleged corrective disclosure dates reliably can be used to measure damages.

See Stulz Rpt. ¶¶ 196, 204.

       Plaintiffs do not attempt to grapple with any of these issues or pretend that Dr. Feinstein

offers anything more than a boilerplate summary of a collection of vaguely described “valuation

tools.” Reply at 29. Nor do Plaintiffs pretend that Dr. Feinstein has specified which of these

“valuation tools he may or may not deploy” in this case. Id. Rather, Plaintiffs contend he doesn’t

have to. “All that matters” at this stage, according to Plaintiffs, is that those “standard valuation

tools” simply “exist.” Id. Plaintiffs appear to contend that in every case, regardless of the details

of the theory of liability, all that is required to satisfy Comcast is merely to vaguely describe these

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“valuation tools” that can, depending on the facts, be used to calculate “out-of-pocket” damages.

See generally id. at 27-30; see also Ex. 2 at 239:4-18 (testifying that for “10b5 claims” the vague

out-of-pocket damages model he proposes is “always” appropriate). Thus, according to Plaintiffs,

the “rigorous analysis” that “courts must conduct” under Comcast is simply a search for the phrase

“out of pocket damages” in a plaintiff’s class certification briefing, paired with a blind trust in the

purported expert’s ability to measure them. Comcast, 569 U.S. at 35.

       Plaintiffs and Dr. Feinstein justify their position by contending that the out-of-pocket

“model” is the “standard” one in these cases, and that other proposed classes have been certified

based upon it in the past. See, e.g., Reply at 27-28; Ex. 2 at 239:4-18 (“I mean, it’s a commonly

used methodology.”). But Plaintiffs’ burden under Comcast is not to educate the Court about the

most common measure for damages. It is to demonstrate to the Court that the proposed damages

methodology is workable in the specific case at hand before the Court makes the important

decision to certify the proposed class. That requires Plaintiffs to supply more than a general metric

for damages and a cookie-cutter explanation of a bundle of tools.

       Plaintiffs also repeatedly argue that Defendants are demanding that Dr. Feinstein conduct

something akin to a loss-causation analysis before the proposed class can be certified. For example,

they contend that Defendants would require Dr. Feinstein to “produce a detailed damages model,”

“specify exactly which valuation tools he may or may not deploy at the merits stage,” “account for

variations in inflation throughout the class period,” “disaggregate the effects of unspecified other

forces,” and “estimate damages for each category of alleged misrepresentations” to satisfy

Comcast. Reply at 28-30. That is a strawman argument that Defendants have never made.

       Instead, Defendants are arguing that Plaintiffs have supplied no information whatsoever

that could allow the Court to determine that Dr. Feinstein is even capable of doing any of those

things at a later stage. That is Plaintiffs’ burden and they have not met it.

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       In sum, as other courts have determined, Dr. Feinstein must do more to satisfy Comcast

than assert a “vague, indefinite, and unspecific” damages methodology, as that “amounts to no

damages model at all.” Ohio Pub. Emps. Ret. Sys., 2018 WL 3861840, at *19; see also In re Vale

S.A. Sec. Litig., 2022 WL 122593, at *12 (E.D.N.Y. Jan. 11, 2022), report and recommendation

adopted, 2022 WL 969724 (E.D.N.Y. Mar. 31, 2022) (rejecting Dr. Feinstein’s opinion as “black

box-like, unverifiable, standardless, and subjective”); Sicav v. James Jun Wang, 2015 WL 268855,

at *6 (S.D.N.Y. Jan. 21, 2015) (similar). But that precisely is what Dr. Feinstein has done here.

V.     The Named Plaintiffs Were Meme Traders Who Did Not Rely on Any Representation
       of the Company, Undermining Typicality

       Plaintiffs dispute neither (i) the named Plaintiffs’ trading history, which was characterized

by high-volume trading in meme stocks throughout the class period, nor (ii) that none of the named

Plaintiffs relied on any of Defendants’ alleged misrepresentations. Reply at 31-35. Instead,

Plaintiffs assert these facts are irrelevant to the typicality analysis. Id. But courts have recognized

that evidence of erratic trading behavior can “raise individualized questions” defeating typicality.

E.g., IBEW, 2013 WL 5815472, at *22; see Opp. at 34-35. As explained in Defendants’

Opposition, such individualized questions are present here. See Opp. at 34-40.

       If the named Plaintiffs are typical of the class, however, that is telling. As the record makes

clear, each named Plaintiff was a meme stock trader seeking to profit from short-term volatility in

Cassava’s stock. See id. at 35-49. Such reckless retail trading, disconnected from any disclosure

by the company, epitomizes the very phenomenon that rendered the market for Cassava’ stock

inefficient during the class period.

                                          CONCLUSION

       For these reasons and the reasons explained in Defendants’ Opposition, the Court should

deny Plaintiffs’ Opposed Motion for Class Certification.



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                        REQUEST FOR EVIDENTIARY HEARING

       These class certification proceedings raise novel, complex issues that would benefit from

an evidentiary hearing. Such hearings are common in this context. 11 The parties have submitted

hundreds of pages of expert reports, with numerous exhibits and appendixes. The Court would

benefit from hearing from the parties’ experts directly, with each side permitted to cross-examine

the other side’s expert. Accordingly, Defendants request that an evidentiary hearing be set on

Plaintiffs’ Opposed Motion for Class Certification.

       In that vein, Defendants’ expert, Dr. Stulz, prepared a further report responding to the

criticisms and inaccuracies introduced in Dr. Feinstein’s rebuttal report. Defendants also deposed

Dr. Feinstein regarding the contents of his rebuttal report. Consistent with the Court’s order dated

September 19, 2024, which instructed that Defendants’ surreply not introduce “any new evidence,”

Defendants have not cited that report or deposition transcript in their brief. See ECF 219.

Defendants submit, however, that Dr. Stulz’s response to Dr. Feinstein’s rebuttal report would aid

the Court’s consideration of these issues. See Georgia Firefighters' Pension Fund v. Anadarko

Petroleum Corp., 99 F.4th 770, 773 (5th Cir. 2024) (holding district court abused its discretion by

denying motion for leave to file surreply and accompanying expert report). Dr. Stulz’s report is

attached as Exhibit A to the accompanying Affidavit of Scott Campbell.




11
   E.g., Edwards v. McDermott Int'l, Inc., 2024 WL 1769325 (S.D. Tex. Apr. 24, 2024); Shannon
v. Allstate Ins. Co., 2024 WL 1080915 (W.D. Tex. Jan. 31, 2024); Marcus v. J.C. Penney Co., Inc.,
2016 WL 8604331 (E.D. Tex. Aug. 29, 2016); Erica P. John Fund, Inc., 309 F.R.D. 251; see also
Unger, 401 F.3d at 322-23.

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Dated: October 4, 2024              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

The undersigned certifies that on October 4, 2024, a true and correct copy of the foregoing was

served electronically upon each attorney of record.

                                                      /s/ Gregg Costa_____________________
                                                      Gregg Costa




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